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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF INDIANA
                              INDIANAPOLIS DIVISION

 PLANNED PARENTHOOD OF INDIANA        )
 AND KENTUCKY, INC.,                  )
                                      )
                          Plaintiff,  )
                                      )
                       v.             )                     1:18-cv-01219-RLY-DLP
                                      )
 COMMISSIONER, INDIANA STATE          )
 DEPARTMENT OF HEALTH in her official )
 capacity, PROSECUTORS OF MARION,     )
 LAKE, MONROE, and TIPPECANOE         )
 COUNTIES, INDIANA, in their official )
 capacities; and THE INDIVIDUAL       )
 MEMBERS OF THE MEDICAL               )
 LICENSING BOARD OF INDIANA, in their )
 official capacities,                 )
                                      )
                          Defendants. )




                FINDINGS OF FACT AND CONCLUSIONS OF LAW

        On April 23, 2018, Plaintiff Planned Parenthood of Indiana and Kentucky, Inc.

 (“PPINK”), filed a Complaint for Declaratory and Injunctive Relief against the Indiana

 State Department of Health, the prosecutors of Marion, Lake, Monroe, and Tippecanoe

 Counties, and the individual members of the Medical Licensing Board of Indiana

 (collectively the “State”), alleging that the reporting requirements set forth in Indiana

 Senate Enrolled Act No. 340 (codified as Indiana Code § 16-34-2-4.7) (eff. July 1, 2018)

 violate the Due Process and the Equal Protection Clauses of the United States



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 Constitution. On May 7, 2018, PPINK filed a Motion for Preliminary Injunction, 1

 seeking to preliminarily enjoin Enrolled Act 340. On June 8, 2018, after briefing was

 complete on this matter, the court held a hearing on Plaintiff’s Motion, which consisted

 solely of oral argument by counsel. The court, having reviewed the parties’ submissions,

 the designated evidence, and the applicable law, now finds that a preliminary injunction

 should be issued without bond.

         The court now issues its Findings of Fact and Conclusions of Law.

                                   I. FINDINGS OF FACT

 A.      The Challenged Statute

      1. According to the State, 2 while there are some studies on abortion complications,

         there is no comprehensive data on the frequency and severity of abortion

         complications. (Filing No. 24-1, Declaration of Christina Francis, M.D. (“Francis

         Decl.”) ¶ 7). Without mandatory reporting requirements, the State contends, the



 1
  PPINK’s Complaint and Motion for Preliminary Injunction also challenged Indiana Code § 16-
 21-2-2.6 (eff. July 1, 2018), which requires the annual inspection of abortion clinics. PPINK
 withdrew this portion of its preliminary injunction in its Memorandum in Support of Motion for
 Preliminary Injunction.
 2
   PPINK vigorously disputes the State’s contention that data on abortion complications is
 incomplete. They cite, among other things, a voluminous consensus report from the National
 Academies of Sciences, Engineering and Medicine entitled The Safety and Quality of Abortion
 Care in the United States. (Filing No. 16-2, The Safety and Quality of Abortion Care in the
 United States, attached to the Declaration of John William Stutsman, M.D.). In a chapter of the
 National Academies Report entitled “The Safety and Quality of Current Abortion Methods,”
 containing more than 230 references, (see id. at 103-115), the Report concludes that “[t]he
 clinical evidence shows that legal abortions in the United States . . . are safe and effective.
 Serious complications are rare.” (Id. at 173). Because the court addresses only PPINK’s void-
 for-vagueness challenge, it need not decide this issue.
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       data regarding abortion complications is incomplete: some doctors will report only

       the most serious complications, and some may choose not to report at all. (Id.).

       Consequently, it is the State’s position that scientists lack data regarding the types

       of complications that may follow abortion and the frequency with which they

       occur. (Id. ¶ 9).

    2. To help remedy the shortage of data regarding abortion complications, and

       ultimately, to better inform a woman’s choice whether to have an abortion, the

       Indiana General Assembly enacted Indiana Senate Enrolled Act 340. The

       Enrolled Act creates a new statutory section, Indiana Code § 16-34-2-4.7 (eff. July

       1, 2018), that requires physicians, hospitals, and abortion clinics to report to the

       Indiana State Department of Health information concerning the treatment of any

       and all patients for “abortion complications.”

    3. The statute provides:

       As used in this section, “abortion complication” means any adverse physical
       or psychological condition arising from the induction or performance of an
       abortion. The term includes the following:

              (1)    Uterine perforation.
              (2)    Cervical perforation.
              (3)    Infection.
              (4)    Hemorrhaging.
              (5)    Blood clots.
              (6)    Failure to terminate the pregnancy.
              (7)    Incomplete abortion (retained tissue).
              (8)    Pelvic inflammatory disease.
              (9)    Missed ectopic pregnancy.
              (10)   Cardiac arrest.
              (11)   Respiratory arrest.
              (12)   Renal failure.
              (13)   Metabolic disorder.

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              (14)   Shock.
              (15)   Embolism.
              (16)   Coma.
              (17)   Placenta previa in subsequent pregnancies.
              (18)   Pre-term delivery in subsequent pregnancies.
              (19)   Free fluid in the abdomen.
              (20)   Hemolytic reaction due to the administration of ABO-incompatible
                     blood or blood products.
              (21)   Hypoglycemia occurring while the patient is being treated at the
                     abortion facility.
              (22)   Physical injury associated with treatment performed at the abortion
                     facility.
              (23)   Adverse reaction to anesthesia or other drugs.
              (24)   Psychological or emotional complications, including depression,
                     suicidal ideation, anxiety, and sleeping disorders.
              (25)   Death.
              (26)   Any other adverse event as defined by criteria provided in the Food
                     and Drug Administration Safety Information and Adverse Event
                     Reporting Program.

       Ind. Code § 16-34-2-4.7(a) (eff. July 1, 2018).

    4. Prior to February 1, 2019, the Indiana State Department of Health must inform the

       providers specified above of the new requirements concerning reporting of

       abortion complications. Ind. Code § 16-34-2-4.7(f) (eff. July 1, 2018). However,

       the law appears to be binding on July 1, 2018. (See Filing No. 16-1, Declaration of

       Christie Gillespie (“Gillespie Decl.”) ¶ 26 (testifying “I am aware that the Enrolled

       Act becomes effective on July 1, 2018, and that neither the Indiana State

       Department of Health nor the Indiana Medical Licensing Board has indicated that

       the law is not binding on July 1, 2018.”)).

    5. The “abortion complications” must be reported to the Indiana State Department of

       Health on a form to be developed by the Department before February 1, 2019.

       Ind. Code § 16-34-2-4.7(c), (d) (eff. July 1, 2018).

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      6. The report must include sixteen items of information. The items include: the date

         the patient presented for treatment for the abortion complication; the name, race,

         and residence of the patient; the type of abortion obtained by the patient; the date

         of the abortion obtained by the patient; the name of the facility where the abortion

         took place; whether the complication was previously managed by the abortion

         provider; the name of the medications taken by the patient as part of the

         pharmaceutical abortion regimen; a list of each diagnosed complication; a list of

         each treated complication, with a description of the treatment provided; whether

         the patient’s visit to treat the complications was the original visit or a follow-up

         visit; the date of each follow-up visit, if any; a list of each complication at a

         follow-up visit, if any; and a list of each complication treated at a follow-up visit,

         if any. Ind. Code § 16-34-2-4.7(e) (eff. July 1, 2018).

      7. After August 31, 2019, the failure to report an “abortion complication” will be a

         Class B misdemeanor. Ind. Code § 16-34-2-4.7(j) (eff. July 1, 2018).

 B.      PPINK

      8. PPINK operates numerous health centers in Indiana where thousands of women,

         men, and teens receive reproductive health services and comprehensive sexuality

         education. (Gillespie Decl. ¶¶ 5-6).

      9. PPINK provides surgical and non-surgical (or “medication”) abortions in Indiana

         at health centers located in Indianapolis, Bloomington, and Merrillville. (Id. ¶¶ 8-

         9). In addition, PPINK’s health center in Lafayette provides non-surgical

         abortions. (Id. ¶ 10).

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      10. Eight physicians provide abortion services at PPINK. (Id. ¶ 12). Some are

         employed by PPINK and some are independent contractors. (Id.). All of these

         physicians are licensed by the Indiana Medical Licensing Board. (Id. ¶ 13).

 C.      Medication Abortions

      11. Medication abortions are available within 70 days after the first day of a woman’s

         last menstrual period. (Id. ¶ 11).

      12. In a medical abortion, the patient will ingest two medications in pill form:

         mifepristone (also known as “RU-486” or by its trade name Mifeprex) and

         misoprostol. (Filing No. 16-2, Declaration of John William Stutsman, M.D.,

         FACOG (“Stutsman Decl.”) ¶ 16).

      13. Mifepristone, taken at the health center, blocks the activity of progesterone, which

         is a hormone that prepares the lining of the uterus for a fertilized egg. (Id. ¶ 17).

         Without progesterone, the lining of the uterus breaks down so that the pregnancy

         cannot continue. (Id. ¶ 18).

      14. Misoprostol, taken 24 to 48 hours later, induces uterine contractions and the

         opening of the cervix, allowing the contents of the uterus to be expelled, similar to

         an early miscarriage. (Id. ¶¶ 19-20).

      15. Defendant Indiana Department of Health, in its Informed Consent Brochure that is

         provided to all abortion patients, Ind. Code § 6-34-2-1.5, recognizes that

         misoprostol “causes cramps, heavy bleeding, and expulsion of the embryo.”

         (Filing No. 16-4, Informed Consent Brochure at 9). The Brochure also notes that

         “[i]n addition to bleeding and cramping, you may experience dizziness, nausea,

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         diarrhea, or vomiting; feel temporary abdominal pain; or have a mild fever or

         chills. It is normal to have some spotting or bleeding for up to four weeks.” (Id.

         at 9-10). These are normal conditions to be expected after a medication abortion.

         (Stutsman Decl. ¶ 21; Filing No. 16-5, Declaration of Sabrina Holmquist, M.D.,

         M.P.H. (“Holmquist Decl.”) ¶ 19; Francis Decl. ¶ 28).

      16. Routine abortion aftercare may involve the provision of additional counseling on,

         pain medications for, and reassurance regarding, these effects. (Holmquist Decl. ¶

         19).

 D.      Surgical Abortions

      17. Surgical abortions are available through the first trimester of pregnancy.

         (Gillespie Decl. ¶ 8).

      18. The surgical abortion method used by PPINK involves the dilation of a patient’s

         cervix and the use of suction and/or instruments to aspirate (or empty) the contents

         of the patient’s uterus. (Stutsman Decl. ¶ 22).

      19. After a surgical abortion, the patient will be monitored for a period of time before

         leaving the center, and will be provided an antibiotic as a prophylaxis against

         infection. (Id. ¶¶ 24-25).

      20. The Indiana Department of Health’s Informed Consent Brochure recognizes that

         the normal effects and conditions associated with a surgical abortion include

         “cramping and bleeding after the procedure. It is also normal to have no bleeding.

         [The patient] may pass a few blood clots and experience heavy bleeding for a few

         days. [The patient] may have spotting for up to six (6) weeks.” (Informed

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         Consent Brochure at 7; see also Stutsman Decl. ¶ 26 (noting the effects described

         above “are not adverse complications, just the normal effects to be expected after a

         surgical abortion”); Holmquist Decl. ¶ 22 (noting “these side-effects are expected,

         typical and temporary and are not considered ‘complications’”)).

 E.      Complications of Abortion

      21. The State’s expert, Christine Francis, M.D., testified that all of the complications

         listed in Indiana Code § 16-34-2-4.7(a) may result from an abortion. (Francis

         Decl. ¶ 12).

      22. PPINK’s witnesses, William Stutsman, M.D., FACOG, Sabrina Holmquist, M.D.,

         M.P.H., and Carol Dellinger, M.D., disagree. (Stutsman Decl. ¶ 36; Filing No. 16-

         3, Declaration of Carol Dellinger (“Dellinger Decl.”) ¶ 27; Holmquist Decl. ¶ 42).

                               II.   CONCLUSIONS OF LAW

      1. To the extent any of the foregoing findings of fact is a conclusion of law, it is

         hereby adopted as a conclusion of law. To the extent any of the conclusions of

         law set forth below is a finding of fact, it is hereby adopted as a finding of fact.

      2. The court has jurisdiction of this case pursuant to 28 U.S.C. §§ 1331 and 1343.

 A.      Preliminary Injunction Standard

      3. “A preliminary injunction is an extraordinary remedy never awarded as of right.”

         Winter v. NRDC, Inc., 555 U.S. 7, 24 (2008).

      4. A motion for preliminary injunctive relief is analyzed in two distinct phases.

         Turnell v. Centimark Corp., 796 F.3d 656, 661 (7th Cir. 2015).


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      5. In the initial, threshold phase, the party seeking injunctive relief bears the burden

         of showing that “(1) absent preliminary injunctive relief, he will suffer irreparable

         harm in the interim prior to a final resolution; (2) there is no adequate remedy at

         law; and (3) he has a reasonable likelihood of success on the merits.” Id. at 661-

         62.

      6. If the court determines that the moving party has satisfied its burden in the

         threshold phase, the court proceeds to the second, balancing phase. Id. at 662.

      7. The court then considers “(4) the irreparable harm the moving party will endure if

         the preliminary injunction is wrongfully denied versus the irreparable harm to the

         nonmoving party if it is wrongfully granted” along with “(5) the effects, if any,

         that the grant or denial of the preliminary injunction would have on nonparties (the

         ‘public interest’).” Id. In this second phase, the court uses a “sliding scale” to

         weigh potential harms against the movant’s likelihood of success: “the more likely

         he is to win, the less the balance of harms must weigh in his favor; the less likely

         he is to win, the more it must weigh in his favor.” Id.

 B.      Likelihood of Success on the Merits

      8. PPINK argues that the reporting requirements set forth in Indiana Code § 16-34-2-

         4.7(b) are unconstitutionally vague.

      9. “It is a basic principle of due process that an enactment is void for vagueness if its

         prohibitions are not clearly defined.” Grayned v. City of Rockford, 408 U.S. 104,

         108 (1972).



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     10. The void-for-vagueness doctrine requires that penal statutes define offenses “with

        sufficient definiteness that ordinary people can understand what conduct is

        prohibited and in a manner that does not encourage arbitrary and discriminatory

        enforcement.” Kolender v. Lawson, 461 U.S. 352, 357 (1983) (citing cases). See

        also Sessions v. Dimaya, 138 S.Ct. 1204, 1212 (2018) (plurality) (stating “the

        doctrine guards against arbitrary or discriminatory enforcement by insisting that a

        statute provide standards to govern the action of police officers, prosecutors, juries

        and judges”).

     11. “The degree of vagueness that the Constitution tolerates—as well as the relative

        importance of fair notice and fair enforcement—depends in part on the nature of

        the enactment.” Village of Hoffman Estates v. Flipside, Hoffman Estates, Inc., 455

        U.S. 489, 498 (1982). For example, the Supreme Court “has expressed greater

        tolerance of enactments with civil rather than criminal penalties because the

        consequences of imprecision are qualitatively less severe.” Id. In addition, the

        Seventh Circuit has recognized that sanctions to an individual’s license are

        sufficiently severe to implicate void-for-vagueness concerns. United States ex rel.

        Fitzgerald v. Jordan, 747 F.2d 1120, 1129-30 (7th Cir. 1984); Baer v. City of

        Wauwatosa, 716 F.2d 1117, 1123-24 (7th Cir. 1983).

     12. Although the vagueness doctrine focuses “both on actual notice to citizens and

        arbitrary enforcement,” the U.S. Supreme Court has recognized:

        [T]he more important aspect of vagueness doctrine is not actual notice, but
        the other principle element of the doctrine—the requirement that a legislature
        establish minimal guidelines to govern law enforcement. Where the

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        legislature fails to provide such minimal guidelines, a criminal statute may
        permit a standardless sweep that allows policemen, prosecutors, and juries to
        pursue their personal predilections.

        Kolender, 461 U.S. at 358 (internal quotations, citations, and alteration omitted).

     13. The challenged statute imposes criminal penalties, after August 31, 2019, if

        “abortion complications” are not reported. Ind. Code § 16-34-2-4.7(j) (eff. July 1,

        2018).

     14. PPINK argues the statutory definition of “abortion complication” is

        unconstitutionally vague because it includes—without any limitation

        whatsoever—“any adverse physical or psychological condition arising from the

        induction or performance of an abortion.” Ind. Code § 16-34-2-4.7(a) (emphasis

        added).

     15. PPINK’s witnesses, Dr. Stutsman, Dr. Holmquist, and Dr. Dellinger opine that the

        definition of “abortion complication” is so broad it fails to give them guidance as

        to what is to be reported and what is not. (Stutsman Decl. ¶ 32; Holmquist Decl. ¶

        31; Dellinger Decl. ¶ 17). PPINK’s Chief Executive Officer, Christie Gillespie,

        testified that the definition is “meaningless,” as it encompasses on one extreme,

        death, and on the other extreme, a stubbed toe in the procedure room. (Gillespie

        Decl. ¶ 29).

     16. According to the State, the term “abortion complication” is specifically limited to

        the twenty-six (26) enumerated conditions. This enumerated list, the State argues,

        eliminates any vagueness concerns, as none of the listed conditions are

        unconstitutionally vague standing alone.

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     17. The States argument falters on several grounds.

     18. First, the twenty-six listed conditions are introduced with the statement, “The term

        [abortion complication] includes the following.” Ind. Code § 16-34-2-4.7(a).

     19. “It is hornbook law that the use of the word ‘including’ indicates that the specified

        list . . . that follows is illustrative, not exclusive.” Puerto Rico Maritime Shipping

        Auth. v. I.C.C., 645 F.2d 1102, 1112 n.26 (D.C. Cir. 1981) (citation omitted);

        Richardson v. Nat’l City Bank of Evansville, 141 F.3d 1228, 1232 (7th Cir. 1998)

        (“‘Include’ is a word of illustration, not limitation.”).

     20. The State responds a different result is mandated by the canon of statutory

        construction called expression unius est exclusion alterius—the expression of one

        thing implies the exclusion of others.

     21. In Dahlstrom v. Sun-Times Media, LLC, 777 F.3d 937 (7th Cir. 2015), the Seventh

        Circuit rejected the application of the canon to statutes relying on the non-

        exhaustive term “includes.” Id. at 943 (“Sun Times advocates the application of

        the [expressio unis] canon . . . . However, the Supreme Court has explained that

        the term “including” . . . is typically ‘illustrative and not limitative.’”) (citation

        omitted). See also United States v. Porter, 745 F.3d 1035, 1046 (10th Cir. 2014)

        (“When a definitional section says that a word ‘includes’ certain things, that is

        usually taken to mean that it may include other things as well.”) (internal citations

        omitted).

     22. Therefore, the twenty-six examples in the statute are not the exclusive examples of

        “abortion complications.”

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     23. Second, the twenty-six enumerated conditions are so broad or vague that they do

        not remedy the uncertainty of the general definition of “abortion complication.”

        For example, and as Dr. Holmquist observed, the term “hemorraghing” is

        commonly understood to refer to a significant loss of blood, generally over 500 cc

        in obstetric and abortion practice. (Id. ¶ 50). The term is not defined in the

        challenged statute, however, causing ambiguity as to when expected bleeding

        becomes “reportable bleeding.” (Id.). Because some blood loss, and the passage

        of small blood clots—another reportable condition—is expected with abortion, it

        would be difficult for practitioners to know the threshold for reporting. (Id.).

     24. The State’s expert, Dr. Francis, opined that Dr. Holmquist’s definition of

        “hemorraghing”—i.e., over 500 cc’s of blood loss—is the “correct definition.”

        (Francis Decl. ¶ 15). And although “it is common for women to pass blood clots

        after an abortion,” she opines that the types of blood clots which should be

        reported are those which are far more serious—deep-vein thrombosis and

        pulmonary embolism. (Id. ¶ 16).

     25. Dr. Francis’s testimony, which adds language to make the terms more specific,

        highlights the fact that without this language, the terms are vague and subject to

        different interpretations by different persons.




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      26. Third, contrary to the State’s interpretation, 3 reportable complications would

         include “normal” side effects. Indeed, the definition of “abortion complication”

         includes “any adverse physical or psychological condition” arising from an

         abortion. The State cannot avoid a vagueness challenge by adding limiting

         language which is not there. Complications with no parameters such as

         “emotional complications,” “adverse reaction to anesthesia or other drugs,” and

         “physical injury associated with treatment performed at the abortion facility” only

         serve to complicate the matter.

      27. Next, the State argues that even if some of the twenty-six complications listed in

         the challenged statute are vague, those vague complications are severable from the

         remainder of the statute. See Ind. Code § 1-1-1-8(b) (noting a provision is

         presumed severable unless two conditions are met).

      28. The twenty-six examples are a non-exhaustive list; therefore, severing a number of

         them will not affect the overall vagueness of the statute or the definition of

         “abortion complication.”

      29. The court therefore finds the challenged statute fails to inform PPINK what

         conduct is prohibited. Consequently, if PPINK fails to report every “adverse

         physical or psychological condition” for which patients seek treatment as a

         reportable condition, no matter how routine, minor, and expected, it and its



  3
    Dr. Francis testified, “Normal side effects of abortion, including cramping, bleeding . . . and
  mild abdominal pain are not abortion complications, and thus would not be required to be
  reported under the statute.” (Francis Decl. ¶ 28).
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          physicians run the risk of being found in the future by the Indiana Department of

          Health or the Indiana Medical Licensing Board to be out of compliance with their

          statutory responsibilities, thus imperiling their licenses.

       30. Accordingly, the court finds PPINK has a reasonable likelihood of success on its

          void-for-vagueness due process challenge.

       31. Due to the court’s finding that PPINK has a likelihood of success on its void-for-

          vagueness challenge, it is unnecessary to evaluate the strength of PPINK’s

          substantive due process and equal protection claims. See Gibson v. Am. Cyanamid

          Co., 760 F.3d 600, 608 (7th Cir. 2014) (noting that federal courts have a “duty to

          avoid opining on federal constitutional issues if possible”). Accordingly, the court

          expresses no opinion on those claims.

  C.      No Adequate Remedy at Law

       32. The relief sought by PPINK is a declaratory judgment decreeing the reporting

          requirements set forth in the challenged statute are unconstitutional and an order

          enjoining its enforcement. PPINK does not seek money damages.

       33. Thus, PPINK has no adequate remedy at law. See Gov’t Suppliers Consolidating

          Services, Inc. v. Bayh, 734 F.Supp. 853, 863 (S.D. Ind. 1990) (finding no adequate

          remedy at law where the plaintiffs sought only declaratory relief and were barred

          from recovering damages).

  D.      Irreparable Harm

       34. To satisfy the “irreparable harm” prong, the moving party must show that the

          denial of preliminary injunctive relief “will cause harm to [it] that a final judgment

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        will not be able to rectify.” Ill. League of Advocates for the Developmentally

        Disabled v. Ill. Dep’t of Human Servs., 803 F.3d 872, 876 (7th Cir. 2015).

     35. Absent a preliminary injunction, PPINK and its physicians will, beginning July 1,

        2018, be subject to licensing penalties, and eventually criminal penalties, if they

        violate the challenged statute.

     36. If PPINK and its physicians interpret the statute incorrectly and report less than

        everything, they risk civil and criminal sanctions.

     37. This violates PPINK’s due process rights.

     38. The violation of constitutional rights constitutes irreparable harm. Baskin v.

        Bogan, 983 F.Supp.2d 1021, 1028 (S.D. Ind. 2014) (citing Preston v.

        Thompson, 589 F.2d 300, 303 n. 3 (7th Cir. 1978) (“The existence of a continuing

        constitutional violation constitutes proof of an irreparable harm.”)); Overstreet v.

        Lexington-Fayette Cty. Gov’t, 305 F.3d 566, 578 (6th Cir. 2002) (“Courts have . . .

        held that a plaintiff can demonstrate that a denial of an injunction will cause

        irreparable harm if the claim is based upon a violation of the plaintiff’s

        constitutional rights.”); Cohen v. Coahoma Cnty., Miss., 805 F.Supp. 398, 406

        (N.D. Miss. 1992) (“It has been repeatedly recognized by federal courts at all

        levels that the violation of constitutional rights constitutes irreparable harm as a

        matter of law.”)).

     39. PPINK has established it will suffer irreparable harm if an injunction is not issued.




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  E.      Balance of Harms and the Public Interest

       40. The public has an interest in the enactment of statutes which comply with the

          Constitution. O’Brien v. Town of Caledonia, 748 F.2d 403, 408 (7th Cir. 1984)

          (finding the public “has a strong interest in the vindication of an individual’s

          constitutional rights”).

       41. The State cannot claim that being required to comply with the Constitution is

          harmful.

       42. The balance of harms and the public interest therefore support the issuance of a

          preliminary injunction in this action.

  F.      Bond

       43. “The court may issue a preliminary injunction . . . only if the movant gives

          security in an amount that the court considers proper to pay the costs and damages

          sustained by any party found to have been wrongfully enjoined or restrained.”

          Fed. R. Civ. P. 65(c).

       44. Notwithstanding the literal text of Rule 65, a bond is not necessary for a

          preliminary injunction to take effect. See Wayne Chemical, Inc. v. Columbus

          Agency Services Corp., 567 F.2d 692, 701 (7th Cir. 1977) (“Finally, it was not

          error for the district court to issue the preliminary injunction without a bond.

          Under appropriate circumstances bond may be excused, notwithstanding the literal

          language of Rule 65(c).”).

       45. The purpose of a bond in this context is to compensate a defendant for losses

          suffered due to an erroneously issued preliminary injunction. Ty, Inc. v. Publ’Ns

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        Int’l, 292 F.3d 512, 516 (7th Cir. 2002). See Lakeview Tech., Inc. v. Robinson,

        446 F.3d 655, 657 (7th Cir. 2006) (“Any slight risk can and should be ameliorated

        by an injunction bond under Fed. R. Civ. P. 65(c).”).

     46. The amount of the bond is left to the court’s discretion. Gateway E. Ry. Co. v.

        Terminal R.R. Ass’n of St. Louis, 35 F.3d 1134, 1141 (7th Cir. 1994).

     47. Here, the State has not claimed that the issuance of a preliminary injunction will

        cause it to suffer any monetary injuries and the court finds that no such injuries

        will be caused by the injunction’s issuance.

     48. Accordingly, no bond will be required.

                                      III.    CONCLUSION

     49. The court finds PPINK has satisfied its burden to obtain a preliminary injunction

        of Indiana Senate Enrolled Act No. 340. Therefore, PPINK’s Motion for

        Preliminary Injunction (Filing No. 11) is GRANTED.

     50. The Commissioner of the Indiana State Department of Health; the Prosecutors of

        Marion, Lake, Monroe, and Tippecanoe Counties, Indiana; and the Individual

        Members of the Medical Licensing Board of Indiana, in their official capacities,

        are hereby PRELIMINARILY ENJOINED from enforcing the reporting

        requirements set forth in Indiana Senate Enrolled Act No. 340.

     51. PPINK is not required to post a bond.

  SO ORDERED this 28th day of June 2018.




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